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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

MARK ORTEGA Individually and on §
Behalf of All Others Similarly Situated, §
§
Plaintiff, §
§

Vv. § SA-24-CV-374-OLG (HJB)
§
JKB FINANCIAL INC, §
§
Defendant. §

ORDER

Before the Court is pro se Plaintiff's Application for Permission to File Electronically.
(Docket Entry 22). Pretrial and scheduling matters have been referred to the undersigned
pursuant to 28 U.S.C. § 636(b)(1). (See Docket Entry 23.)

The Court finds that Plaintiff's motion (Docket Entry 22) is hereby GRANTED. Plaintiff
may file documents electronically pursuant to the electronic filing requirements for a pro se litigant
contained in the Administrative Policies and Procedures for Electronic Filing in Civil and
Criminal Cases. Additionally, if Plaintiff has not already done so, Plaintiff must register as a
“Filing User” and receive a login and password to use the Court’s electronic filing system. Both
the Policies & Procedure and registration form mentioned can be found under the “CM/ECF” tab

on the Western District of Texas’ U.S. District Clerk’s website (www.txwd.uscourts.gov).

ZGe

kA
Henvy J. epee

Uni od i s Magistrate Judge

It isso ORDERED.

SIGNED on February 3, 2025

